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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Travis Widner,                                     File No. 21-cv-2098 (ECT/ECW)

          Plaintiff,

v.                                                    ORDER OF DISMISSAL
                                                       WITH PREJUDICE
Party City Corporation,
d/b/a Party City,

          Defendant.


          Plaintiff Travis Widner and Defendant Party City Corporation have filed a joint

stipulation that seeks dismissal of this action with prejudice, without additional costs or

attorneys’ fees to any party. ECF No. 10. The stipulation is signed by all parties in the

action.     Therefore, based on all the files, records, and proceedings herein, IT IS

ORDERED that the action is DISMISSED with prejudice, with each party to bear its own

costs and fees.


Dated: March 30, 2022                            s/ Eric C. Tostrud
                                                 Eric C. Tostrud
                                                 United States District Court
